
933 So.2d 650 (2006)
Harry Michael WRIGHT, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D06-1937.
District Court of Appeal of Florida, First District.
June 30, 2006.
Harry Michael Wright, pro se, Petitioner.
Charlie Crist, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
DENIED. Smith v. State, 444 So.2d 542, 547 (Fla. 1st DCA 1984); Sheppard v. State, 391 So.2d 346 (Fla. 5th DCA 1980).
WOLF, PADOVANO, and POLSTON, JJ., concur.
